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                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION




DISPLAY TECHNOLOGIES, LLC,

                       Plaintiff,
                                                          Civil Action No. 2:17-cv-194
               v.
                                                          JURY TRIAL DEMANDED
OLYMPUS AMERICA, INC.,

                       Defendant.

                       JOINT MOTION TO STAY ALL DEADLINES
                            AND NOTICE OF SETTLEMENT

        Plaintiff Display Technologies, LLC and Defendant Olympus America, Inc. hereby

notify the Court that all matters in controversy in the action between these two parties have been

settled, in principal. The parties request a stay of 30 days of all deadlines to afford them time to

complete the execution of a settlement agreement and to submit appropriate dismissal papers.




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      DATED May 19, 2017.                          Respectfully submitted,

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                                                   ATTORNEYS   FOR    DEFENDANT
                                                   OLYMPUS AMERICA, INC.


                               CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing has been served upon counsel of

record via the Court’s CM/ECF system on May 19, 2017.


                                                   /s/ Thomas C. Wright




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